




Dismissed and Memorandum Opinion filed July 26, 2007








Dismissed
and Memorandum Opinion filed July 26, 2007.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00591-CV

____________

&nbsp;

ROY SANCHEZ, Appellant

&nbsp;

V.

&nbsp;

MARY LOU RIDNER, Appellee

&nbsp;



&nbsp;

On Appeal from
Probate Court No. 4

Harris County,
Texas

Trial Court Cause
No. 310,691-901

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed April 26, 2007.&nbsp; On July 18, 2007, appellant
filed a motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed July
26, 2007.

Panel consists of Justices Anderson, Fowler, and
Frost. 





